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                                       STATEMENT OF FACTS

        Your affiant,                 , is a Special Agent with the Federal Bureau of Investigation (“FBI”)
and I am assigned to the Baltimore Field Office’s Joint Terrorism Task Force (“JTTF”). The majority of
my career has been devoted to investigating, managing, and supporting domestic terrorism investigations,
which often involve violations of Title 18 of the United States Code. I have assisted in the preparation of
numerous search warrant applications, conducted, or participated in physical and electronic surveillance,
assisted in the execution of search warrants, debriefed informants and reviewed other pertinent records.
Through my training, education, and experience, I have become familiar with the efforts of persons
involved in criminal activity to avoid detection by law enforcement. As a Special Agent, I am authorized
by law or by a government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal laws.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police (“USCP”). Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by USCP. Only
authorized people with appropriate identification were allowed access inside the U.S. Capitol. On January
6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the Capitol, which
is located at First Street, SE, in Washington, D.C. During the joint session, elected members of the United
States House of Representatives and the United States Senate were meeting in separate chambers of the
U.S. Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which had
taken place on November 3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter,
by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular
objection. Vice President Michael R. Pence was present and presiding, first in the joint session, and then
in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President Pence
present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As noted above,
barricades—both temporary and permanent—were in place around the exterior of the U.S. Capitol
building, and USCP were present and attempting to keep the crowd away from the U.S. Capitol building
and the proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the USCP attempted to
maintain order and keep the crowd from entering the U.S. Capitol. Shortly after 2:00 p.m., however,
individuals in the crowd forced entry into the U.S. Capitol using unlawful methods that included breaking
windows and assaulting USCP officers. Others in the crowd encouraged and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m., members of the U.S. House of Representatives and
the U.S. Senate, including the President of the Senate, Vice President Pence, were instructed to and did
evacuate the chambers. Accordingly, the joint session of Congress was effectively suspended until shortly
after 8:00 p.m. Vice President Pence remained in the U.S. Capitol from the time he was evacuated from
the Senate Chamber until the sessions resumed.




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       During national news coverage of the attack on the Capitol, video footage which appeared to be
captured on mobile devices of persons present on the scene depicted violations of local and federal law,
including scores of individuals inside the Capitol without permission or authority.

    As set forth in detail below, I have identified Steven COOK as an individual who entered the Capitol
grounds on January 6, 2021, and committed the following criminal acts:

    •   18 U.S.C. § 231(a)(3): Obstructing, Impeding, or Interfering with Law Enforcement During a
        Civil Disorder;
    •   18 U.S.C. § 111(a): Assault of or Interference with Law Enforcement;
    •   18 U.S.C. §§ 1752(a)(1), (2), and (4): Entering and Remaining in a Restricted Building or
        Grounds; Disorderly and Disruptive Conduct in a Restricted Building or Grounds; and Engaging
        in an Act of Physical Violence in a Restricted Building or Grounds

                                               Identity

        Several videos from various sources taken on January 6, 2021, at the U.S. Capitol, depict an
individual—later identified as Steven Cook—pushing through a police line on the west side of the Capitol
and punching multiple police officers. In February 2021, the FBI located a clear image of the individual
and, utilizing investigative resources such as internal and external databases, was able to identify the
individual as Steven COOK.

        The FBI received tips from Individual 1, Individual 2, at least four other individuals, and an
anonymous source, all positively identifying COOK in photos and/or videos from January 6, some of
which were posted to COOK’s social media accounts. On May 6, 2022, the FBI interviewed Individual
2, whose child attended high school with COOK. Individual 2 positively identified COOK in images
taken on January 6, 2021. Individual 2 also provided the FBI with screen recordings of videos from
COOK’s Snapchat account showing COOK at the U.S. Capitol on January 6, 2021. On May 18, 2022,
the FBI interviewed Individual 1, who grew up with COOK. Individual 1 positively identified COOK in
images taken on January 6, 2021. Individual 1 also saw COOK post on his social media accounts about
his presence at the U.S. Capitol on January 6, 2021. Of the six images shown to Individuals 1 and 2, two
are shown below as Images 1 and 2.




Images 1 and 2. Pictures shown to Individuals 1 and 2.

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       Individual 2 provided three screen recordings of videos COOK posted to his social media. Two
screenshots from one of the videos, posted to COOK’s Snapchat account, are shown below in Images 3
and 4. They appear to show COOK on the Lower West Terrace, facing west toward the west plaza in
Image 3, and then turning around and facing east toward the Lower West Terrace door (now known as the
“tunnel”) in Image 4.




Images 3 and 4. Screenshots from video provided by Individual 2 at 20 seconds and 34 seconds.




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                                          January 6 Conduct

        On January 6, 2021, Metropolitan Police Department (MPD) Officer A.A. was part of the police
line securing the west plaza of the U.S. Capitol. Multiple body-worn cameras and open-source videos
captured COOK in the moments before and after the police line broke. Figure 1 shows COOK at 2:26
p.m., before the police line broke.




Figure 1. Screenshot from MPD Officer A.A.’s body-worn camera. Cook circled in red.

       At 2:28:06 p.m., three individuals linked arms and marched into the police line, breaking the line.
COOK followed soon thereafter and began pushing and hitting police officers. Figure 2 shows COOK, at
2:28:39 p.m., pushing MPD Officer J.M.




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Figure 2. Screenshot from MPD Officer J.M.’s body-worn camera. COOK circled in red.

      For context, Figure 3 shows the same moment that COOK is pushing Officer J.M. in Figure 2.




Figure 3. Screenshot from U.S. Capitol Police CCTV. COOK circled in red.



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      At 2:28:46 p.m., COOK grabbed MPD Officer J.M.’s police baton, as shown in Figure 4.




Figure 4. Screenshot from MPD Officer J.M.’s body-worn camera. COOK circled in red.

      At 2:28:48 p.m., COOK punched an unidentified police officer, as shown in Figures 5 and 6.




Figure 5. Screenshot from MPD Officer A.A.’s body-worn camera. COOK circled in red.


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Figure 6. Screenshot from MPD Officer A.A.’s body-worn camera. COOK circled in red.

       At 2:28:50 p.m., COOK continued to assault police officers and further break the police line, as
shown in Figure 7.




Figure 7. Screenshot from MPD Officer A.A.’s body-worn camera. COOK circled in red.


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         The events captured in Figures 1 – 7 were also captured on open-source videos, as shown in Figures
8–9.




Figure 8. Screenshot at :23 from open-source video 1 from Parler. COOK circled in red.




Figure 9. Screenshot at :27 from open-source video 2 from YouTube. COOK circled in red.

1
    https://web.archive.org/web/submit?url=https://video.parler.com/bL/zj/bLzjJt5EsDB8.mp4
2
    https://www.youtube.com/watch?v=VmJRqUYjlY4&t=28


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        Police officers retreated toward the U.S. Capitol building into the Lower West Terrace door, now
known as the “tunnel.” COOK followed the police officers into the tunnel. U.S. Capitol Police CCTV
first shows COOK at the mouth of the tunnel at 2:43:34 p.m., and he quickly made his way deeper into
the tunnel. Figure 10 shows COOK passing a pole deeper into the tunnel at 2:45:39 p.m.




Figure 10. Screenshot from USCP CCTV. COOK circled in red.

       Figure 11 shows COOK just a few rioters away from the police line in the tunnel at 2:46:46 p.m.




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Figure 11. Screenshot from USCP CCTV. COOK circled in red.

       COOK left the tunnel at 2:52:35 p.m. and returned at 3:02:09 p.m. At 3:02:47 p.m., COOK took
a gas mask from a nearby rioter, put it on, and ran into the tunnel, as shown in Figures 12 and 13.




Figure 12. Screenshot from USCP CCTV. COOK circled in red. Red arrow pointing at gas mask.


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Figure 13. Screenshot from USCP CCTV. COOK circled in red.

       COOK bull-rushed the police line head-first, as shown in multiple MPD body-worn cameras.
Figure 14 shows COOK pushing into the police line in the tunnel at 3:03:21 p.m.




Figure 14. Screenshot from MPD Officer B.S.’s body-worn camera. COOK circled in red.

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     This altercation was captured from other body-worn cameras as well. Figures 15 and 16 show
COOK rushing the police line head-first and grabbing a police baton.




Figure 15. Screenshot from MPD Officer J.P.’s body-worn camera. COOK circled in red.




Figure 16. Screenshot from MPD Officer B.S.’s body-worn camera. COOK’s hand circled in red.


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      At 3:04:24 p.m., still pushing against officers, COOK removed the gas mask, shown in Figure 17.




Figure 17. Screenshot from MPD Officer B.S.’s body-worn camera. COOK circled in red.

      COOK then stood up, as shown in Figure 18.




Figure 18. Screenshot from USCP CCTV. COOK circled in red.

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       COOK eventually left the tunnel at 3:05:48 p.m. COOK returned to the mouth of the tunnel at
3:55:09 p.m. and, soon thereafter, began pushing against the police line in unison with other rioters, as
shown in Figure 19.




Figure 19. Screenshot from USCP CCTV. COOK circled in red.

       COOK left the tunnel area at 4:08:19 p.m. Open-source video also depicts COOK in the area at
the tunnel, as seen in Figure 20.




     Based on the foregoing, your affiant submits that there is probable cause to believe that Steven
COOK violated:


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   •   18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
       impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
       performance of his official duties incident to and during the commission of a civil disorder which
       in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
       article or commodity in commerce or the conduct or performance of any federally protected
       function. For purposes of Section 231 of Title 18, a federally protected function means any
       function, operation, or action carried out, under the laws of the United States, by any department,
       agency, or instrumentality of the United States or by an officer or employee thereof. This includes
       the Joint Session of Congress where the Senate and House count Electoral College votes.

   •   18 U.S.C. § 111(a), which makes it a crime to forcibly assault, resist, oppose, impede,
       intimidate, or interfere with any person designated in section 1114 of title 18 while engaged in or
       on account of the performance of official duties. Persons designated within section 1114 include
       any person assisting an officer or employee of the United States in the performance of their
       official duties.

   •   18 U.S.C. §§ 1752(a)(1), (2), and (4), which make it a crime to (1) knowingly enter or remain in
       any restricted building or grounds without lawful authority to do; (2) knowingly, and with intent
       to impede or disrupt the orderly conduct of Government business or official functions, engages
       in disorderly or disruptive conduct in, or within such proximity to, any restricted building or
       grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
       Government business or official functions; (4) knowingly engage in any act of physical violence
       against any person or property in any restricted building or grounds; or attempt or conspire to do
       so. For purposes of 18 U.S.C. § 1752, a “restricted building” includes a posted, cordoned off, or
       otherwise restricted area of a building or grounds where the President or other person protected
       by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
       building or grounds so restricted in conjunction with an event designated as a special event of
       national significance.




                                                    Special Agent
                                                    Federal Bureau of Investigation

       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 10th day of August 2023.
                                                   G. Michael         Digitally signed by
                                                   Harvey             G. Michael Harvey

                                                  HONORABLE G. MICHAEL HARVEY
                                                  UNITED STATES MAGISTRATE JUDGE




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